      Case 1:18-cv-10225-MLW           Document 428        Filed 11/19/19      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )         No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
KEVIN K. McALEENAN, et al.,              )
                                         )
                Defendants-Respondents.  )
                                         )

                           NOVEMBER 19, 2019 JOINT REPORT

       On November 8, 2019, the Court ordered that the parties continue to confer and by

November 19, 2019 report whether any other individuals have withdrawn their portions of the

Motion for Order to Show Cause and if not, describe with specificity any remaining disputes.

ECF No. 423.

       The parties met and conferred on these issues on November 18, 2019, and report as

follows regarding whether any individuals have withdrawn their portions of the Motion for Order

to Show Cause and their outstanding disputes:

       1.      None of the individuals (Mr. Leon, Mr. Madeira, Mr. Semedo, and Mr. Sisse)

have withdrawn their portions of the Motion for Order to Show Cause, but the parties continue to

confer regarding a mutually agreeable settlement of these individuals’ claims in their portion of

the Motion for Order to Show Cause. The parties are also conferring over the potential release of

a detained class member whom Respondents had not previously identified to Petitioners. She
      Case 1:18-cv-10225-MLW           Document 428            Filed 11/19/19       Page 2 of 3




has been detained since March 2019 and Petitioners contend that she was not provided with a

180-day review consistent with the requirements of 8 C.F.R. § 241.4, including because she was

not interviewed in connection with that review.

       2.      The parties jointly request that the Court postpone the hearing scheduled for

December 3, to a later date agreeable to the Court. Petitioners have served discovery requests

related to the remaining issues presented by the Motion for Order to Show Cause, and the parties

are conferring over potential depositions in connection with this discovery. Petitioners anticipate

that the results of this discovery may be useful to any hearing on the motion for order to show

cause. Respondents have agreed to prioritize production of documents related to the issues

presented in the Motion for Order to Show Cause but have not yet provided an anticipated

timeline for production of documents. Accordingly, the parties agree that it would be

appropriate to postpone the December 3, 2019 hearing.

            Respectfully submitted this 19th day of November, 2019.

    Counsel for the Respondents                       Counsel for the Petitioners

    JOSEPH H. HUNT                             /s/ Kevin S. Prussia
    Assistant Attorney General                 Kevin S. Prussia (BBO # 666813)
                                               Michaela P. Sewall (BBO # 683182)
    WILLIAM C. PEACHEY                         Shirley X. Li Cantin (BBO # 675377)
    Director                                   Jonathan A. Cox (BBO # 687810)
    Office of Immigration Litigation           Stephen Provazza (BBO # 691159)
                                               Colleen M. McCullough (BBO # 696455)
    J. MAX WEINTRAUB                           Matthew W. Costello (BBO # 696384)
    Senior Litigation Counsel                  WILMER CUTLER PICKERING
                                                 HALE AND DORR LLP
    /s/ Mary L. Larakers                       60 State Street
    MARY L. LARAKERS                           Boston, MA 02109
    (Texas Bar # 24093943)                     Telephone: (617) 526-6000
    Trial Attorney                             Facsimile: (617) 526-5000
    U.S. Department of Justice, Civil Division kevin.prussia@wilmerhale.com
    Office of Immigration Litigation           michaela.sewall@wilmerhale.com
                                                  2
 Case 1:18-cv-10225-MLW         Document 428      Filed 11/19/19    Page 3 of 3




District Court Section                    shirley.cantin@wilmerhale.com
P.O. Box 868, Ben Franklin Station
Washington, DC 20044                      Matthew R. Segal (BBO # 654489)
(202) 353-4419                            Adriana Lafaille (BBO # 680210)
(202) 305-7000 (facsimile)                AMERICAN CIVIL LIBERTIES UNION
mary.l.larakers@usdoj.gov                 FOUNDATION OF MASSACHUSETTS, INC.
                                          211 Congress Street
                                          Boston, MA 02110
                                          (617) 482-3170

                                          Kathleen M. Gillespie (BBO # 661315)
                                          Attorney at Law
                                          6 White Pine Lane
                                          Lexington, MA 02421
                                          (339) 970-9283




                                      3
